UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK

In Re:                                                 Case No.: 2−11−20413−PRW
      Craig H. Wilson .Jr.                             Chapter: 7
       aka Craig Hamilton Wilson, aka
       Owner Of Keuka Lake Ent., A NY                  SSN: xxx−xx−6668
       LLC, aka Sole Shrhd− UBI Rest
       Grp.Inc, A NY Corp, dba Union
       Block Italian Bistro, fdba 7th Avenue
       Restaurant Group, fdba Snug Harbor
       Restaurant And Inn

                        Debtor(s)


                                        FINAL DECREE

    The estate of Craig H. Wilson .Jr. has been fully administered.

    IT IS ORDERED THAT:
    Douglas J. Lustig is discharged as Trustee of the estate(s) of the above−named debtor(s).
    The case of the above−named debtor(s) is closed.




Dated: January 27, 2017                    HONORABLE PAUL R. WARREN
                                           United States Bankruptcy Judge


Form fnldec/Doc 108
www.nywb.uscourts.gov




     Case 2-11-20413-PRW       Doc 108 Filed 01/27/17 Entered 01/27/17 15:46:38         Desc
                                   Final Decree Page 1 of 1
